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 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Middle District of Alabama

                   United States of America                         )
                              v.                                    )
                  Reunco Deshawndrick Lewis                         ) Case No: 2:03CR180-MEF-02
                                                                     ) USMNo: 11394-002
Dateof Previous Judgment: 12/28/04                                   ) _______________________________________________
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant            the Director of the Bureau of Prisons J the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 87          months is reduced to 71 months
I. COURT DETERMiNATION OF GUIDELiNE RANGE (Prior to Any Departures)
Previous Offense Level:    25               Amended Offense Level:     23
Criminal History Category: V                Criminal History Category: V
Previous Guideline Range: 100 to 125 months Amended Guideline Range: 84                                                to 105 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 J The reduced sentence is within the amended guideline range.
X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
11 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 12/28/04                   shall remain in effect.
IT IS SO ORDERED.

Order Date:          8
                                                                                              / Judge' s signature

Effective Date:             1 °$                                            MARK E. FUlLER, CHIEF U.S. DISTRICT JUDGE
                     (if different from order date)                                           Printed name and title
